 

Case 4:20-cv-00913-P Document 10 Filed 10/01/20 Page 1 Of Ro AGRI SRR O noxas
PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 05/2015) FILED
OCT - 1 2020
IN THE UNITED STATES DISTRICT COURT

 

FOR THE NORTHERN DISTRICT OF TEXAS | CEERK.U-S. DISTRICT COURT

FORT WORTH DIVISION Eimer es

 

 

 

. at
DesSic~a RK. Chrenister Q138¢- CH CTSADIC

Plaintiff's Name and ID Number AMENDED COMPLAINT

Emc Coranel( Fort Wocth, TX .

Place of Confinement
CASE NO. 4:20-cv-913-P

(Clerk will assign the number)

V.

LDacclen Carr

Defendant’s Name and Address

7
Sh tetinway Litnothy }. BOP FM Carsuel|
Defendant’s Name and Addre$s my

PO, Box QUStr
Bk uler Pt. North, Tx. Alo \at

(DO NOT USE “ET AL.”)

 

 

INSTRUCTIONS - READ CAREFULLY

NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. Youmust file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.
Case 4:20-cv-00913-P Document 10 Filed 10/01/20 Page 2of7 PagelD 336
FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known asin forma pauperis
data sheet, from the law library at your prison unit.

3, The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate, assess
and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4, Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed in
forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting it

to the court.
CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:
A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? ___. VES _XNo
B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit:

 

2. Parties to previous lawsuit:
Plaintiff(s)
Defendant(s)

Court: (If federal, name the district; if state, name the county.)

 

 

Cause number:

 

Name of judge to whom case was assigned:

 

Disposition: (Was the case dismissed, appealed, still pending?)

 

I NM Sw

Approximate date of disposition:

 
Case 4:20-cv-00913-P Document 10 Filed 10/01/20 Page3of7 PagelD 337

Il. PLACE OF PRESENT CONFINEMENT:

 

Il. EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted all steps of the institutional grievance procedure? __YES XZ NO ¢

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

IV. PARTIES TO THIS SUIT:
A. Name and address of plaintiff: Ves ce C\yvouster “yagi Ol: 4
Eederak Medico enrer, Corset
0.0: Box ANT Fe.Wdo9h TTX Yelat

B. Fullname of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1: \ Sor den Cox Emc. Corswell
PO. Box AUNZt Eb uyedh Te Alar

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 
   

OD Cred Gnd Ungsark pons shimante
Defendant #2: Le. AnYnony  Eb-ddts Frc Corsvel\ OD. Gen 271137

EAM dor bh Te Te 2

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Crpe\tu olorSe_ MeO + onysical “dit er epe¢ Widlatiins 2 mer
GoeNnsh Hon 0) Ones J }

Defendant#3:{4, @prler —Fme Carswess
2.0. Box U3} Exuyckh ,TX. HelV

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Same OS  G\ywe

 Defendant#4 Paes. QQ Sco y* Vhead ok Sandakion
Coc Cocspeth P.O. Sox IOUS] EtWorh Tx WG!27

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Some G3 aie

Defendant#5: (\ (3. Ox\e -Raws\s9s Eme Carqgvoelts
QO. Box AUST sido Te Weird

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Same Gs ome
45 bo Ky Soand\ EMC Corsvret P.O, Bsr VUNST Fluor 7
re 1 Meddicok Dicector Dr Langrom ame EM Cocmey
P.O. Sex DAS

3 >
FX SONS 0D adowN? FA. Leck Volt]
VI.

VIL.

VI.

Case 4:20-cv-00913-P Document10 Filed 10/01/20 Page4of7 PagelD 338
STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was snvolved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases OF statutes. If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY

STRIKE YOUR COMPLAINT.

EQ feaards te Lshom Lops ‘inwoled in Git Claums |
Td sods os ol Aetendonks (fo Save penm Bloke-aike
Caords 4 include Coch)

Violateoas Oy (o°3 @mendnendmenk ~Cruol Quod

. at Lak of inaiflerence try varcc
LwelCans ,heatitn menaral healsn sofely CAC Quidelines
iene needs , ; encsoal cdistenerna Goch eosin +

Removed OX lates tp Gcess CaGh Dork mers L. wr bak cant
Ong close Sale. ‘ parm@ion aN Covi) i Wis regard box Teskhs

2 a Jreakmant ek Cov IOt 1 Physicak ASWITS

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.

Policy, Changes ,ceuess Of salt members bs

AN te , ye . J
AY WPEX edoce Sentace Deve IA (pove kills me (fd prae 4
t ‘ 1) Tigre ence

 

 

GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and all aliases.
. x t
OES cr Q Lee CU \ con) ster

B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal
prison or FB] numbers ever assigned to you.

Qty s4-Oo4

SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES K. NO
B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were

imposed. (If more than one, use another piece of paper and answer the same questions.)

Court that imposed sanctions (if federal, give the district and division):

 

Case number:

 

Approximate date sanctions were imposed:

 

 

= & &

Have the sanctions been lifted or otherwise satisfied? YES NO

4
Case 4:20-cv-00913-P Document10 Filed 10/01/20 Page5of7 PagelD 339

C. Has any court ever warned or notified you that sanctions could be imposed? YES x NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning was issued.
(If more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division):

 

2. Case number:

 

3. Approximate date warning was issued:

Executed on: ¢ xf { ye Bro DDAC Lr ‘ Ouisuatin

DATE

 

 

 

(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2 Junderstand, if I am released or transferred, it is my responsibility to keep the court informed of my

current mailing address and failure to do so may result in the dismissal of this lawsuit.

L understand I must exhaust all available administrative remedies prior to filing this lawsuit.

4. lunderstand I am prohibited from bringing an in forma pauperis lawsuit if] have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury.

5. Iunderstand even if I am allowed to proceed without prepayment of costs, am responsible for the entire
filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

A
Signed this | | ) day of ak. , 20 20 ‘

(Day) (nionth) (year)

Ww

 

 

siren v ‘ Chi rpust

‘Signature of Plaintiff)

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.
Case 4:20-cv-00913-P Document 10 Filed 10/01/20 Page 6of7 PagelD 340

 

ear Ne ee

            

Co/oe xy WRCT 4
wooy FS YU 4521 Jas

TS#9 ObeT 2000 ObeT OFo¢

ae ete fr
at SER Se SEG SRn ER
Sener!

Li ir}

  

ae y LORLLS : my

LEIGL XL “YOM “14

B gaara au. LETLE XOg ‘Od

Tlemsied * 151029) we jeEpad

 

 
Case 4:20-cv-00913-P Document 10 Filed 10/01/20 Page 7of7 PagelD 341

ate

[PU

(py) ‘UOs#oylse}o 40 UOLeUOJUI JeYZIMY 20}

LP TEUY OYs WINyo. 6} Yel ABU -NOA ‘YOLIIpsLAl sey
AMI22; $143 YOIUM AAO Welgord 46 UORSAND eB geste!
JBUIM GU3 j) 'PAIIOPSUI JOU Pavede Uaag Jeugau sey
JOR) UL 'NOA 0} BUlpyemioy JO) SBINpeSGId Buje
1812906 YANOIY) PassaIosd Sem 19338) paEdioUe aUL

SUT Par
LET92 XL “YHOO Og
9S90L~ “9g “Od
@"S189 DW
. x. thes

ELT ERT TE Be RRR A

 
